Case 2:18-cv-00803-MWF-JEM Document 57 Filed 05/20/21 Page 1 of 1 Page ID #:820

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                                                                                   JS-5
                                    CIVIL MINUTES – GENERAL

  Case No.        CV 18-803 MWF (JEMx)                                       Date: May 20, 2021
  Title       United States of America v. Jane Boyd


  Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge


                     Rita Sanchez                                        Not Reported
                     Deputy Clerk                                  Court Reporter / Recorder

          Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                   Not Present                                        Not Present

  Proceedings: (IN CHAMBERS) ORDER

         In light of the Ninth Circuit’s Opinion, filed March 24, 2021, and Mandate,
  filed May 17, 2021 (Docket Nos. 55 and 56), the Court ORDERS the parties to
  meet and confer, and file a joint report as to how the case will proceed. The joint
  report shall be filed no later than June 11, 2021.


                                                                           Initials of Preparer: RS/sjm




  CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 1
